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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,

       vs.                                                                  8:25CR 1Z7
UDIEL DEMESIO VELASQUEZ-                                               INDICTMENT
VELASQUEZ, alicla UDIEL DEMESIO
VELASQUEZ Y VELASQUEZ, a/kla UDIEL                                   8 U.S.C. § 1326(a)
D. VELASQUEZ, a/k/a UDIEL
VELASQUEZ-RAMOS,

                      Defendant.


       The Grand Jury charges:
                                             ( V \T TN.TT T



       On or about April 18, 2025, in the District of Nebraska, the defendant, UDIEL

DEMESIO VELASQUEZ-VELASQUEZ, a/kla UDIEL DEMESIO VELASQUEZ Y

VELASQUEZ, a/k/a UDIEL D. VELASQUEZ, alk/a UDIEL VELASQUEZ-RAMOS, an alien

who previously had been excluded, deported, and removed from the United States to Guatemala,

was found in the United States, without the Attorney General of the United States or her

designated successor, the Secretary of the Department of Homeland Security (Title 6, United

States Code, Sections 202(3), (4) and 557), having expressly consented to defendant's

reapplication for admission into the United States.

       In violation of Title 8, United States Code, Section 1326(a).

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       The United States of America requests that trial of this case be held in Omaha, Nebraska,
pursuant to the rules of this Court.

                                            By:
                                                   JQF E. HIGGINS, #19546
                                                   Assistant U.S. Attorney
